Case 1:23-cv-00528-JLH-CJB Document 97 Filed 09/20/24 Page 1 of 2 PageID #: 1976




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


  WOLFRAM ARNOLD, ERIK
  FROESE, TRACY HAWKINS,
  JOSEPH KILLIAN, LAURA CHAN
  PYTLARZ, and ANDREW
  SCHLAIKJER,

                          Plaintiffs,
                                            C.A. No. 1:23-cv-00528-JLH-CJB
                v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X
  HOLDINGS I, INC. and ELON MUSK,

                          Defendants.


                      NOTICE OF FIRM NAME CHANGE

       PLEASE TAKE NOTICE that effective immediately, Christensen &

 Dougherty LLP has changed its name as follows: Christensen Law LLC. The firm’s

 address and phone number will remain the same and updated email addresses are set

 forth below.

 DATED: September 20, 2024
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                                     CHRISTENSEN LAW LLC

                                      /s/ Joseph L. Christensen
                                     Joseph L. Christensen (#5146)
                                     1201 North Market Street, Suite 1404
                                     Wilmington, DE 19801
                                     (302) 212-4330
                                     joe@christensenlawde.com

                                     Counsel for Plaintiffs




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